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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 MALAIKA LEWIS, et al.,

         Plaintiffs,

         v.                                        Civil Action No. 1:22-cv-03369-RDM

 DISTRICT OF COLUMBIA, et al.,

         Defendants.


                                           ORDER

       Upon consideration of Defendants’ Motion to Dismiss Plaintiffs’ Amended Complaint

(Motion), any opposition and reply, and the entire record, it is ORDERED that:

The Motion is GRANTED; and

Plaintiffs’ Amended Complaint is DISMISSED WITH PREJUDICE.

       SO ORDERED.

                                           _________________________________________
                                           THE HONORABLE RANDOLPH D. MOSS
                                           Judge, United States District Court
                                                  for the District of Columbia
